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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  ERIC & CO TRADING GROUP LLC,                                 CASE NO.: 23-CV-20045-RKA

         Judgment Creditor,

  v.

  FLOYD MAYWEATHER, JR.,

         Judgment Debtor.

  and

  SKAR AUDIO, INC.,

        Garnishee.
  ___________________________________/

                           MOTION FOR WRIT OF GARNISHMENT
                                    (After Judgment)

         Judgment Creditor, ERIC & CO TRADING GROUP LLC (“Judgment Creditor” or “Eric

  & Co.”), moves for the issuance of a Writ of Garnishment pursuant to Fed. R. Civ. P. 64 and

  Section 77.03, Florida Statutes, against Garnishee, SKAR AUDIO, INC. (“Skar Audio”), stating

  in support thereof as follows:

         1.      On June 3, 2023, this Court entered a Final Judgment (the “Judgment”) in favor of

  Eric & Co. and against FLOYD MAYWEATHER, JR. (“Judgment Debtor” or “Mayweather”),

  in the sum of $1,168,650, plus prejudgment interest of $111,551.32, with interest at the current

  post-judgment statutory rate as designated in the State of Florida at the time of the filing of this

  Motion of 7.69%.

         2.      The Judgment was electronically filed by the Court Deputy on June 5, 2023, and a

  copy of the Judgment was certified by the Clerk on August 1, 2023.
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         3.       The Judgment was recorded on August 15, 2023, under Instrument #119041719 of

  the Official Public Records of Broward County, Florida. A true and correct copy of the Broward

  County recorded Judgment is attached hereto as Exhibit A and incorporated by reference herein.

         4.       The Judgment was also recorded on August 22, 2023, under CFN: 20230584720,

  Book 33846, Page 1498 of the Official Public Records of Miami-Dade County, Florida. A true

  and correct copy of the Miami-Dade County recorded Judgment is attached hereto as Exhibit B

  and incorporated by reference herein.

         5.       The sum of $1,168,650, plus prejudgment interest of $111,551.32, and post-

  judgment interest, attorneys’ fees and costs in the amount of $8,576 remains due and unpaid on

  the Judgment.

         6.       ERIC & CO. has reason to believe that Skar Audio is in possession of money or

  other property of MAYWEATHER that could be used to pay a portion of the Judgment.

         7.       Accordingly, ERIC & CO. moves for the issuance of a Writ of Garnishment against

  Skar Audio.

         WHEREFORE, ERIC & CO. respectfully requests that the Clerk of the Court issue a Writ

  of Garnishment against Garnishee, SKAR AUDIO, INC., to capture any money or other property

  of Judgment Debtor FLOYD MAYWEATHER, JR. that could be used to pay the Judgment.

         DATED this 27th day of November, 2023.
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                                             Respectfully submitted,

                                             MILLENNIAL LAW
                                             Attorneys for Judgment Creditor
                                             501 E. Las Olas Blvd Ste 200/314
                                             Fort Lauderdale, FL 33301
                                             Phone: 954-271-2719

                                             By: s/ Zachary P. Hyman
                                                    Zachary P. Hyman
                                                    Florida Bar No. 98581
                                                    zach@millenniallaw.com
                                                    jessica@millenniallaw.com
                                                    assistant@millenniallaw.com
                                                    millenniallawforms@gmail.com


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was filed using the Court’s online CM/ECF
  Filing System on this 27th day of November, 2023, which sent a true and correct copy to counsel
  for Defendant as indicated below.

  Via CM/ECF Notice of Electronic Filing
  Jared Lopez, Esq.
  Zaharah R. Markoe, Esq.
  Tazio Heller, Esq.
  BLACK SREBNICK, P.A.
  201 S. Biscayne Boulevard, Suite 1300
  Miami, Florida 33131
  jlopez@royblack.com
  zmarkoe@royblack.com
  theller@royblack.com
  civilpleadings@royblack.com
  Counsel for Defendant/Judgment Debtor
